983 F.2d 1057
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Guy Lancaster RICHMOND, Petitioner-Appellant,v.Mason WATERS;  Attorney General of the State of Maryland,Respondents-Appellees.
    No. 92-6596.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  October 29, 1992Decided:  December 31, 1992
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  William M. Nickerson, District Judge.  (CA-91-632-WN)
      Guy Lancaster Richmond, Appellant Pro Se.
      John Joseph Curran, Jr., Attorney General, Baltimore, Maryland, for Appellees.
      D.Md.
      Dismissed.
      Before WIDENER, MURNAGHAN, and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Guy Lancaster Richmond seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C.s 2254 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Richmond v. Waters, No. CA-91-632-WN (D. Md. June 5, 1992).  We deny Richmond's motion for appointment of counsel and his motion for discovery.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    